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AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA                                     f J"
                                                                                                                 r- "   ':' '0
                                                                                                                      " ~",
                                                                                                                                   , 10; 2 9
            UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE                                     ~,   ~




                                 v.                                 (For Offenses Committed On or After November 1; 1987), '
               PAUL SKIPTON JOYCE (1)
                                                                       Case Number:         14CR2543-JLS
                                                                                                                                   ~'"
                                                                   RICHARD J. BOESEN
                                                                    Defendant's Attorney
REGISTRATION NO.                 48269298


~   pleaded gUilty to count(s)          ONE OF THE INDICTMENT

o was found gUilty on count(s)
    after a plea of not guilty.
Accordingly. the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                           Count
Title & Section                   Nature of Offense                                                                    Number(s)
18 USC 1349. 18 USC               CONSPlRACY TO COMMIT WIRE FRAUD                                                         1
981(a)(l)(C) AND 28
USC 2461 (c)




    The defendant is sentenced as provided in pages 2 through                 5            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
     The defendant has been found not guilty on count(s)

o Count(s)                                                    is           dismissed on the motion of the United States.

~    Assessment: $100.00 imposed



~    No fine                 ~        Forfeiture pursuant to order filed          111312015                     • included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence. or mailing address until all fines, restitution. costs. and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    January 23.2015
                                                                    Date of Imposition of Sentence

                                                                                                      ,~~
                                                                      ON. JANIS L. SAMMARTINO
                                                                      NITED STATES DISTRICT JUDGE



                                                                                                                        14CR2543-JLS
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                                                 IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:

SIXTY (60) DAYS




o       Sentence imposed pursuant to Title 8 USC Section 1326(b).
Igj     The court makes the following recommendations to the Bureau of Prisons:

        Incarceration in the Southern District of California




o       The defendant is remanded to the custody of the United States Marshal.

o       The defendant shall surrender to the United States Marshal for this district:
        o     at
                   - - - - - - - A.M.                          on
        o     as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
IZI
        Prisons:
        IZI   on or before March 27, 2015 by 12:00 pm.
        o     as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.

                                                       RETURN

I have executed this judgment as follows:

        Defendant delivered on
                                 -------------------------- to
at
      ------------------------ , with a certified copy of this judgment.
                                                                    UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                         14CR2543-JLS
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                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

THREE (3) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o           substance abuse. (Check, if applicable.)
I2Sl        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
I8l
            Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690 I, et
o           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o           The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

             If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
        such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
        of Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                          STANDARD CONDITIONS OF SUPERVISION
       I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)  the defendant shall support his or her dependents and meet other family responsibilities;
       5)  the defendant shall work regularly at a lawful occupation. unless excused by the probation officer for schooling. training, or other acceptable
           reasons;
       6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8) the defendant shall not frequent places where controlled substances are illegally sold. used, distributed, or administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted permission to do so by the probation officer;
       10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view of the probation officer;
       II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
           the court; and
       13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
           with such notification requirement.


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                               SPECIAL CONDITIONS OF SUPERVISION

   1. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
      Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
      or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
      revocation; the defendant shall warn any other residents that the premises may be subject to searches
      pursuant to this condition.

   2. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

   3. Be prohibited from opening checking accounts or incurring new credit charges or opening additional
      lines of credit without approval of the probation officer.

   4. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.

   5. Notify the Collections Unit, U.S. Attorney's Office, of any interest in property obtained, directly or
      indirectly, including any interest obtained under any other name, entity, including a trust, partnership, or
      corporation, until fine is paid in full.


   6. Notify the Collections Unit, U.S. Attorney's Office, before transferring any interest in any property
      owned directly or indirectly by the defendant, including any interest held or owned under any other
      name or entity, including trusts, partnerships, or corporations, until fine is paid in full.


   7. Be monitored for a period of 6 months, with the location monitoring technology at the discretion of the
      probation officer. The offender shall abide by all technology requirements and shall pay all or part of
      the costs of participation in the location monitoring program, as directed by the court and/or the
      probation officer. In addition to other court-imposed conditions of release, the offender's movement in
      the community shall be restricted as specified below:


       You are restricted to your residence at all times except for employment; education; religious services;
       medical, substance abuse, or mental health treatment; attorney visits; court appearances; court­
       ordered obligations; or other activities as pre-approved by the probation officer. (Home Detention)




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                                           RESTITUTION

The defendant shall pay restitution in the amount of   $141,386.00           unto the United States of America.




This sum shall be paid as follows:

Pay restitution forthwith in the amount of $141,386.00 to Pfizer, Inc., through the Clerk, U.S. District Court.
Payment of the restitution shall be joint and several with co-defendant Julie Noel Grafke. During any period of
incarceration the defendant shall pay restitution through the Inmate Financial Responsibility Program at the rate
of 50% of the defendant's income, or $25.00 per quarter, whichever is greater. The defendant shall pay the
restitution during his supervised release/probation at the rate of $250.00 per month. These payment schedules
do not foreclose the United States from exercising all legal actions, remedies, and process available to it to
collect the restitution judgment.

Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States
Attorney's Office of any change in the defendant's mailing or residence address, no later than thirty (30) days
after the change occurs.

pfizer, Inc.
c/o Brian Wisneki
Director of Global Security
7000 Portage Road
Kalamazoo, MI 49002




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